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    9                         UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA

   11   VICTORIA ANNUNZIATO, p/k/a                Case No.: 2:20-cv-11592-RSWL
        KING VICTOBER, an individual,             (JPRx)
   12
   13            Plaintiff,                       Hon. Ronald S.W. Lew
   14   vs.                                       ORDER FOR DISMISSAL WITH
   15                                             PREJUDICE
        MEGAN GUTHRIE, p/k/a
   16
        MEGNUTT02, an individual; and
   17   DOES 1 through 20, inclusive,             Complaint Filed: November 16, 2020
                                                  Trial Date: Not Yet Set
   18
                 Defendants.
   19
        MEGAN GUTHRIE, p/k/a
   20
        MEGNUTT02, an individual,
   21
                 Plaintiff,
   22
   23   vs.
   24
        VICTORIA ANNUNZIATO, p/k/a
   25   KING VICTOBER, an individual,
   26
        Defendants.
   27
   28


                              ORDER FOR DISSMISSAL WITH PREJUDICE
Case 2:20-cv-11592-RSWL-JPR Document 32 Filed 11/05/21 Page 2 of 2 Page ID #:289


    1                                        ORDER
    2      The stipulation is approved.      The entire action, including all claims and
    3 counterclaims stated herein against all parties, is hereby dismissed with prejudice.
    4
    5 Dated: November 5, 2021                       ______________________________
    6                                               RONALD S. W. LEW
    7                                               UNITED STATES DISTRICT JUDGE
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                          ORDER FOR DISSMISSAL WITH PREJUDICE
